Case 1:19-cv-05748-ENV-RLM Document 12 Filed 04/30/21 Page 1 of 2 PageID #: 93

                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
LDM:BGK:NEP
F.# 2019V02754                                     271 Cadman Plaza East
                                                   Brooklyn, New York 11201

                                                   April 30, 2021

By ECF

United States Magistrate Judge Roanne L. Mann
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. The Real Property and Premises Known as
                      Deed No. 18,877 et al. - Docket No. 19-CV-05748 (ENV)(RLM)

Dear Judge Mann:

               Pursuant to the Court’s February 3, 2021 Order, the United States respectfully
submits this status report regarding the above-captioned matter.

                As set forth in the government’s status reports dated, November 5, 2020 and
February 2, 2021, a forfeiture complaint was filed against eight pieces of real property
located in Mexico (the “Defendant Properties”) that were purchased with the proceeds from
the sale of illegal narcotics by Rafael Caro Quintero, the principal leader of the Caro Quintero
Drug Trafficking Organization in Mexico. On or about October 23, 2019, the United States
formally requested assistance from Mexico in the forfeiture of the Defendant Properties
pursuant to the Mutual Legal Assistance Treaty (“MLAT”) between our countries. The
MLAT request asked Mexico, in part, to restrain the Defendant Properties and to give timely
notice of the forfeiture proceeding to any person who reasonably appeared to have an interest
or claim to the Defendant Properties. The authorities in Mexico were asked to post on the
Defendant Properties copies of the Verified Complaint and notice of the action, as required
by 18 U.S.C. § 985.

               On or about November 25, 2020, pursuant to the MLAT request, prosecutors
of the Fiscalia General de la Republica (“FGR”) of Mexico, placed notice of the forfeiture
action on six of the eight real properties in and around Guadalajara, Mexico. Based on
actions Mexico took in response to the government’s MLAT request, on April 1, 2021, the
government filed a motion for Default Judgment and Partial Decree of Forfeiture with
respect to five of the eight defendant properties. On April 15, 2021, the Court granted the
Case 1:19-cv-05748-ENV-RLM Document 12 Filed 04/30/21 Page 2 of 2 PageID #: 94




government’s motion. The government is currently in the process of resolving the forfeiture
of the other three remaining Defendant Properties.

              Based upon the status provided above, the United States, if amenable to Your
Honor, will provide within 90 days, a further update to the Court with respect to this matter.

                                                   Respectfully submitted,

                                                   MARK J. LESKO
                                                   Acting United States Attorney

                                            By:     /s/ Brendan G. King
                                                   Brendan G. King
                                                   Assistant U.S. Attorney
                                                   (718) 254-6006




                                               2
